Entered: March 31, 2014       Case 13-13847        Doc 483        Filed 03/31/14         Page 1 of 17
Signed: March 28, 2014

SO ORDERED




                                IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                           (Greenbelt Division)

        In re:                                                *

        VINCENT L. ABELL,                                     *        Case No. 13-13847-PM
                                                                       (Chapter 11)
                                   Debtor.                    *

        *        *        *        *        *        *        *        *        *        *        *        *        *

            ORDER (I) AUTHORIZING THE SALE OF CERTAIN REAL PROPERTIES FREE
            AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND INTERESTS, AND (II)
                                GRANTING RELATED RELIEF

                 Upon consideration of the Motion (the “Sale Motion”) filed by the Trustee, for Orders:

        (A)(i) approving the Bidding Procedures 1; (ii) approving the Purchase Agreement; (iii)

        scheduling the Sale Hearing and setting an objection deadline with respect to the Sale; (iv)

        approving the Sale Notice; and (v) granting related relief; and (B)(i) authorizing the Sale of the

        Properties free and clear of all liens, claims, encumbrances, and Interests pursuant to the

        Purchase Agreements; and (ii) granting related relief, the Court having conducted a hearing on

        the relief requested in the Sale Order on March 24, 2014, at which all interested parties had the

        opportunity to be heard with respect to the relief requested in the Sale Order, and the Trustee



        1
          To the extent this Order uses capitalized terms not defined herein, those terms shall have the meanings set forth in
        the Sale Motion.
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presented evidence and parties-in-interest presented argument, after due deliberation and good

and sufficient cause appearing therefor,

       IT IS HEREBY FOUND AND DETERMINED THAT:

       A.      This Court has jurisdiction over the Sale Motion, the transaction contemplated by

the Purchase Agreement, and any ancillary documents and agreements related thereto, pursuant

to 28 U.S.C. §§ 157(b)(1) and 1334(a). This matter is a core proceeding pursuant to 28 U.S.C. §

157(b)(2). Venue for the above-captioned bankruptcy case and the Sale Motion is proper in this

district under 28 U.S.C. §§ 1408 and 1409.

       B.      The statutory predicates for the relief sought in the Sale Motion are §§ 105(a) and

363 of the Bankruptcy Code and Fed. R. Bankr. P. 2002, 6004, and 9014 and Local Bankruptcy

Rules 2002-1 and 6004-1.

       C.      The Sale Motion seeks approval of the proposed sale (the “Sale”) of certain real

properties to the Successful Bidders or Backup Bidders selected by the Trustee pursuant to

certain procedures (the “Bidding Procedures”) previously approved by the Court in the Bidding

Procedures Order [Dkt. No. 414]. A chart outlining the Successful Bidder and Backup Bidder

for each of the Properties subject to this Order and information related thereto is attached hereto

as Appendix A to Sale Order.

       D.      The Trustee has: (i) properly and appropriately exercised his sound business

judgment in determining that the Sale of the Properties to the Successful Bidders and Backup

Bidders, under the terms of the Purchase Agreements, the form of which was previously

approved by the Court in the Bidding Procedures Order, is in the best interest of the Debtor’s

estate, creditors, and other parties in interest; and (ii) demonstrated good and sufficient business




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justification for the sale of the Properties under §§ 363(b), (f), (h), and (m) of the Bankruptcy

Code, free and clear of all Interests (as hereinafter defined).

        E.      The sale of the Properties to the Successful Bidders or Backup Bidders, pursuant

to the Purchase Agreements, will provide the highest and otherwise best value for the Properties,

and is in the best Interests of the Debtor’s estate, creditors, and other party in interest in that: (i)

the respective Purchase Agreements were proposed and entered into without collusion, in good

faith and from arm’s length bargaining positions by and between the Trustee and the Successful

Bidders and Backup Bidders and (ii) the Successful Bidders and/or Backup Bidders are third-

parties unrelated to the Debtor and persons connected to the Debtor or Trustee.

        F.      As evidenced by the certificates of service previously filed with this Court: (i)

proper, timely, adequate, and sufficient notice of the Sale Motion and the Sale Hearing has been

given in accordance with §§ 102( 1) and 363 of the Bankruptcy Code, and Bankruptcy Rules

2002, 6004, 6006, and 9014; (ii) such notice constitutes good and sufficient notice of the Sale

Motion and the Sale Hearing, and was good, sufficient, and appropriate notice under the

circumstances; and (iii) no other or further notice of the Sale Motion or the Sale Hearing is or

shall be required.

        G.      A reasonable opportunity to object or be heard regarding the Sale Motion, the

Bidding Procedures, the Sale Hearing, and the Sale of the Property has been afforded to all

interested parties in accordance §§ 102(1) and 363 of the Bankruptcy Code and with Bankruptcy

Rules 2002, 6004, 6006, and 9014.

        H.      The Trustee may sell all of the Debtor’s right, title, and interest in the Properties

to the applicable Successful Bidders and/or Backup Bidders free and clear of all liens, claims,




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encumbrances, or other interests (the “Interests”) because one or more of the standards set forth

in § 363(f)(1)-(5) of the Bankruptcy Code has been satisfied.

       I.      With respect to the 613 Gresham Property, the Sale to the Successful Bidder

and/or Backup Bidder may be made subject only to the consent of the co-tenant of such property

(upon obtaining such consent the Trustee shall file a Line with the Court so noting the consent),

or subject to further order of the Court.

       J.      Upon consummation of the Sale at Closing pursuant to the terms of the Purchase

Agreements, the transfer of the Properties shall constitute a legal, valid, and effective transfer to

the Successful Bidders, and shall vest in the Successful Bidders (or Backup Bidders if so

required) all the right, title, and interest of the Debtor and the bankruptcy estate in and to the

Properties.

       K.      The Successful Bidders and/or Qualified Bidders have not engaged in any

conduct that could prevent the application of § 3 63(m) of the Bankruptcy Code to the Sale or

Purchase Agreement, or cause or permit the Sale to be avoided under § 363(n) of the Bankruptcy

Code. Consequently, the Successful Bidders and Backup Bidders are good faith purchasers under

§ 363(m) of the Bankruptcy Code, and are entitled to the protections afforded thereby.

       L.      The findings and conclusions set forth herein constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052, a s made applicable to this

contested matter pursuant to Bankruptcy Rule 9014. To the extent any of the foregoing findings

of fact constitute conclusions of law, they are adopted as such. To the extent any of the foregoing

conclusions of law constitute findings of fact, they are adopted as such.

NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:




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       1.      The Sale Motion is hereby granted in all respects pursuant to the terms of this

Sale Order and all objections, if any, to the Sale Motion or the relief requested therein that have

not been withdrawn, waived, settled, or resolved, as stated on t he record or herein, and all

reservations of rights included therein, are hereby overruled and denied on t he merits with

prejudice. The objections of (a) Ocwen Loan Servicing, LLC (“Ocwen”) (as servicer for Bank

of New York Mellon Trust Company, National Association, U.S. Bank National Association,

and Bank of America, National Association), (b) Branch Banking and Trust Company (“BBT”)

and (c) Capital Bank, N.A. (“Capital”) are resolved as stated on the record at the Sale Hearing

and as summarized in Appendix B attached hereto, and are incorporated herein by reference. The

Agreements stated on the record at the Sale Hearing as between the Trustee and EagleBank and

the Trustee and Wells Fargo are likewise summarized in Appendix B and incorporated herein by

reference. Ocwen, BBT, Capital, EagleBank, and Wells Fargo are hereafter referred to as the

“Resolved Lenders.” The objections of James Estenn Abell, M.D. Asset Lending Corporation,

Mt. Zion Village Partnership and the Debtor are hereby overruled in their entirety.

       2.      The Sale Motion is denied without prejudice as to the property located at 4428

New Hampshire Avenue. The objection to the Sale Motion of Reverse Mortgage Solutions is

granted in part and the Trustee may not, pursuant to this Order, sell the property known as 4428

New Hampshire Avenue, with the ultimate resolution of that property and the litigation between

the Trustee and Reverse Mortgage Solutions being subject to further order(s) of the Court.

       3.      The Sale of the Properties to the respective Successful Bidders and/or Backup

Bidders as identified on Appendix A hereto, upon Closing in accordance with the Purchase

Agreements, is hereby approved pursuant to §§ 105 a nd 363 o f the Bankruptcy Code. The

Trustee is hereby authorized to sell the Properties to the respective Successful Bidders and/or



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Backup Bidders on the terms and subject to the conditions set forth in the Purchase Agreements,

which are hereby approved. The Trustee is hereby authorized to take all actions, and execute and

deliver all documents and instruments that may be reasonably necessary or appropriate to

implement and effectuate the transactions contemplated by the Purchase Agreements and this

Sale Order.

       4.      This Sale Order and the Purchase Agreement shall be binding in all respects upon

the Successful Bidders and/or Backup Bidders, the Trustee, all creditors of the Debtor (known or

unknown), and all interested parties, including, but not limited to, any party asserting Interests,

and upon the successors and assigns of any of the foregoing.

       5.      To the extent that any provision of this Sale Order is inconsistent with the terms

of the Purchase Agreements, the terms of this Sale Order shall control. The failure to specifically

include or refer to any particular provision of the Purchase Agreements in this Sale Order shall

not diminish or impair the effectiveness of such provision, it being the intent of the Court that the

Purchase Agreements be approved in their entirety.

       6.      The Purchase Agreements and any related agreement, document or other

instrument may be modified, amended, or supplemented by the parties thereto in accordance

with the terms thereof, without further order of this Court; provided that any such modification,

amendment, or supplement is not material and has the approval of the parties to the Sale.

       7.      The Trustee shall hold the aggregate net proceeds paid for the Properties by the

Successful Bidders and/or Backup Bidders in his approved Trustee’s bank account (the

“Proceeds”) subject to the terms of this Sale Order and further order of the Court.

       8.      Except as expressly provided in the Purchase Agreements, the Properties shall be

transferred to the respective Successful Bidders and/or Backup Bidders upon Closing free and



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clear of all Interests pursuant to § 363(f) of the Bankruptcy Code, with all such Interests to attach

to the net sale Proceeds with the same validity, priority, extent, and effect that such Interests had

immediately prior to Closing, subject to all rights, claims, defenses, and objections of the

Trustee, the Debtor, the Debtor’s bankruptcy estate, its creditors, and all interested parties with

respect to such Interests.

       9.      Except as expressly provided in the Purchase Agreements, (i) the Successful

Bidders and/or Backup Bidders shall not be liable for any Interests against the Debtor, and (ii)

the transfer of the Properties by the Trustee does not and shall not subject the Successful Bidders

and/or Backup Bidders to any liability as successors to the Debtor.

       10.     For the express benefit of the Successful Bidders and/or Backup Bidders, the sole

and exclusive remedy available to any person or entity asserting Interests against the Properties

(other than as expressly set forth in the Purchase Agreements) shall be a right to assert in this

Court any Interests against the Proceeds of the Properties, and the holders of any such Interests

are hereby barred from asserting such Interests against the Successful Bidders and/or Backup

Bidders, their successors and assigns, or the Properties.

       11.     The Successful Bidders and/or Backup Bidders entered into the Purchase

Agreements without collusion and in good faith as that term is used in § 363( m) of the

Bankruptcy Code. The purchase prices provided for under the Purchase Agreements are fair and

reasonable. A ccordingly, the reversal or modification on a ppeal of the authorization provided

herein to consummate the Sale of the Properties shall not affect the validity of such Sales to the

Successful Bidders and/or Backup Bidders, unless such authorization is duly stayed prior to

Closing pending such appeal. The Successful Bidders and/or Backup Bidders are purchasers in




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good faith entitled to all of the protections afforded by § 363(m) of the Bankruptcy Code and the

Sale may not be avoided under § 363(n) of the Bankruptcy Code.

       12.     In accordance with this Sale Order and pursuant to the Purchase Agreements, the

Trustee may consummate the sale of the Properties to the Successful Bidders and/or Backup

Bidders through execution of deeds at Closing and such deeds along with this Sale Order shall

be sufficient evidence of the transfer of title to the Successful Bidder and/or Backup Bidder free

and clear of all Interests pursuant to § 363(f) of the Bankruptcy Code. The Sales consummated

by the Trustee pursuant to this Sale Order shall be binding upon and govern the acts of all

persons and entities, including, without limitation, all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, registrars of deeds, administrative

agencies, governmental departments, secretaries of state, federal and local officials, and all other

persons and entities who may be required by operation of law, or duties of office or contract to

accept, file, register or otherwise record or release any documents or instruments or who may be

required to report or insure any title or state of title in or to any of the property sold pursuant to

this Sale Order; and each of the foregoing persons and entities is hereby directed to accept for

filing any and all of the documents and instruments necessary and appropriate to consummate the

transactions contemplated by the Purchase Agreements.

       13.     Upon payment of the purchase price by the Successful Bidders and/or Backup

Bidders, the Trustee is authorized to pay from the purchase price (i) the commission payable to

the Consultants, the Court-approved broker for the sale of the Properties, in accordance with the

Order Granting Chapter 11 Trustee’s Application to Employ A & G Realty Partners, LLC and

Long & Foster as Real Estate Consultants and Advisors for Chapter 11 Trustee [Dkt. No. 318],

(ii) the amounts agreed to be paid to the Trustee by certain of the Resolved Lenders in



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connection with § 506(c) for the Trustee’s efforts in liquidating the Properties as stated upon the

record by agreement between the Trustee and such lenders at the Sale Hearing and summarized

in Appendix B attached hereto, (iii) payment of any current or past due real estate taxes and other

related charges to the appropriate state authority as required by applicable non-bankruptcy law

and not contrary to the Purchase Agreements, and (iv) the valid amounts due and owing to the

Resolved Lenders as stated on the record at the Sale Hearing and agreed to by the Trustee.

       14.     This Court shall retain exclusive jurisdiction to interpret and enforce the

provisions of the Purchase Agreements and this Sale Order in all respects and to hear and

determine any and all related disputes; provided however, that in the event the Court abstains

from exercising or declines to exercise such jurisdiction, or is without jurisdiction with respect to

either the Properties or this Sale Order, such abstention, refusal, or lack of jurisdiction shall have

no effect upon, and shall not control, prohibit, or limit the exercise of jurisdiction of any other

court having competent jurisdiction with respect to any such matter.

       15.     The Sale of the 1825 Kilbourne Place Property is sold free and clear of all

Interests, including the one-half interest therein held by the co-tenant in common owner of the

Property, William McFadden, Jr., pursuant to his consent provided to the Court.

       16.     The Sale of the 613 G resham Place Property to the Successful Bidder and/or

Backup Bidder thereof is hereby approved pursuant to §§ 105 and 363 of the Bankruptcy Code,

subject to the Trustee obtaining the consent of the co-tenant of such property (upon obtaining

such consent the Trustee shall file a Line with the Court so noting the consent), or subject to

further order of the Court. Such sale, after consent or further order of the Court shall otherwise

be in accordance with this Order and free and clear of all Interests and the co-tenancy (upon

consent).



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       17.     The stays provided for in Bankruptcy Rules 6004(h) and 6006(d) are hereby

waived and this Sale Order shall be effective immediately upon its entry.



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                                      -END OF ORDER-




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     APPENDIX A TO SALE ORDER
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APPENDIX A

                                              RESULTS OF MARCH 20, 2014 AUCTION BY SUCCESSFUL BIDDER

                   Property Address                                            Successful Bidder                     Successful Bid ($)         Backup Bidder           Backup Bid ($)
636 14th Pl., NE, Washington, DC 20002                   AAAS Holdings, LLC                                         $          372,000 Ocean Holdings LLC               $      371,000



443 S St., NW, Washington, DC 20001                      AAAS Holdings, LLC                                         $          411,000 Ocean Holdings LLC               $      410,000


866 Bellevue Circle, SE, Washington, DC 20032            Bank of New York Mellon Trust Company, N.A. (Credit Bid)   $           80,000 Seven Brick Road, LLC            $       76,000


1925 Valley Ter., SE, Washington, DC 20032               Bank of New York Mellon Trust Company, N.A. (Credit Bid)   $          205,000 Seven Brick Road, LLC            $      110,000


1635 Varnum Pl., NE, Washington, DC 20017                Federated Real Estate Holdings                             $          253,000 Seven Brick Road, LLC            $      150,000

5312 James Pl., NE, Washington, DC 20019                 Federated Real Estate Holdings                             $           75,000 Seven Brick Road, LLC            $       25,000


6034 Eastern Ave., NE, Washington, DC 20010              Federated Real Estate Holdings                             $          160,000 Seven Brick Road, LLC            $       50,000


217 20th St., NE, Washington, DC 20002                   JBN Realty Investment Inc.                                 $          350,000 Seven Brick Road, LLC            $      345,000



1825 Kilbourne Pl., NW, Washington, DC 20010             Lewis, Christopher & Trowbridge, Leann M.                  $          680,000 AAAS Holdings, LLC               $      670,000

1118 50th St., NE, Washington, DC 20019                  Ocean Holdings LLC                                         $           67,000 Federated Real Estate Holdings   $       57,000



1258 Penn St., NE, Washington, DC 20002                  Ocean Holdings LLC                                         $          276,000 Seven Brick Road, LLC            $      275,000


1516 Trinidad Ave., NE, Washington, DC 20002             Ocean Holdings LLC                                         $          317,000 AAAS Holdings, LLC               $      316,000

1776 Lyman Pl., NE, Washington, DC 20002                 Ocean Holdings LLC                                         $          218,000 Dilan Investment LLC             $      217,000


1732 Taylor St., NW, Washington, DC 20011                Ocean Holdings LLC                                         $          662,000 Dilan Investment LLC             $      661,000


10603 Riva Place, White Plains, MD 20695 (Charles County) Ocean Holdings LLC                                        $           85,000 Seven Brick Road, LLC            $       80,000
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10802 Old Annapolis Road, Frederick, MD 21701 (Frederick   Ocean Holdings LLC                              $      125,000 Seven Brick Road, LLC             $     120,000
County)
3402 Shepherd St., Mount Rainier, MD 20712 (Prince         Ocean Holdings LLC                              $      105,000 Dumbarton Investments             $     100,000
George's County)
1304 S Street, SE, Washington, DC 20020                    Ocean Holdings LLC                              $      105,000 U.S. Bank, N.A. (Credit Bid)      $     104,000


3430 23rd St., SE, Washington, DC 20020                    Q SHANN Properties, LLC                         $      100,000 Capital Bank, N.A. (Credit Bid)   $      99,000


1213 Staples St., NE, Washington, DC 20002                 Seven Brick Road, LLC                           $      341,000 AAAS Holdings, LLC                $     340,000


164 Uhland Terr, NE, Washington, DC 20002                  Seven Brick Road, LLC                           $      330,000 WSD Capital, LLC                  $     325,000



1360 Taylor St., NW, Washington, DC 20011                  Seven Brick Road, LLC                           $      610,000 Ocean Holdings LLC                $     560,000



1401 South Carolina Ave., SE, Washington, DC 20003         Seven Brick Road, LLC                           $      305,000 Federated Real Estate Holdings    $     300,000
CHURCH

1261 Owen Pl, NE, Washington, DC 20002                     WSD Capital, LLC                                $      305,000 Ocean Holdings LLC                $     301,000
4021 Marlboro Pl., NW, Washington, DC 20011                WSD Capital, LLC                                $      420,000 Ocean Holdings LLC                $     405,000



613 Gresham Pl., NW, Washington, DC 20001                  WSD Capital, LLC                                $      325,000 Seven Brick Road, LLC             $     321,000


920 Delafield Pl., NW, Washington, DC 20011                WSD Capital, LLC                                $      330,000 Seven Brick Road, LLC             $     326,000
                                                           TOTAL:                                           $    7,612,000 TOTAL:                           $   7,114,000
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             APPENDIX B TO SALE ORDER
    Summary of Resolutions Stated on the Record at the Sale
                          Hearing
     Lienholder      Summary of Agreement/Settlement with the         Property or Properties
                      Trustee as stated on the Record at the Sale          Subject to
                                        Hearing                       Agreement/Settlement
Capital Bank, N.A.      a. At Closing, a commission of 6% of            1. 1258 Penn St.,
                            the gross proceeds for the sale of             NE, Washington,
                            each property subject to the                   DC 20002
                            agreement shall be paid to the              2. 3430 23rd St.,
                            Trustee’s real estate consultants              SE, Washington,
                            (A&G Realty Partners, LLC and                  DC 20020
                            Long and Foster Real Estate, Inc.) per      3. 920      Delafield
                            the terms of the Trustee’s agreement           Pl.,         NW,
                            with such consultants.                         Washington, DC
                        b. At Closing, a 10% share of the gross            20011
                            proceeds for each property subject to
                            the agreement shall be paid to the
                            Trustee as a carve out for the benefit
                            of the bankruptcy estate.
                        c. At Closing and after the deduction of
                            the above-described amounts (as well
                            as any real estate or related taxes due
                            and owing and required to be paid
                            from gross proceeds as part of the
                            sale pursuant to the Purchase
                            Agreement or applicable non-
                            bankruptcy law), the Trustee shall
                            pay all net proceeds to Capital Bank
                            in connection with its first priority
                            and duly perfected liens.
Branch Banking and      a. At Closing, a commission of 6% of            1. 636 14th Pl., NE,
Trust     Company           the gross proceeds for the sale of             Washington, DC
(“BBT”)                     each property subject to the                   20002
                            agreement shall be paid to the              2. 1213 Staples St.,
                            Trustee’s real estate consultants              NE, Washington,
                            (A&G Realty Partners, LLC and                  DC 20002
                            Long and Foster Real Estate, Inc.) per
                            the terms of the Trustee’s agreement
                            with such consultants.
                        b. At Closing, a 10% share of the gross
                            proceeds for each property subject to
                            the agreement shall be paid to the

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                             Trustee as a carve out for the benefit
                             of the bankruptcy estate, which shall
                             be applied to and paid from BBT’s
                             debt amount.
                        c.   At Closing and after the deduction of
                             the above-described amounts (as well
                             as any real estate or related taxes due
                             and owing and required to be paid
                             from gross proceeds as part of the
                             sale pursuant to the Purchase
                             Agreement or applicable non-
                             bankruptcy law), the Trustee shall
                             pay the debt due and owing to BBT
                             in connection with its first priority
                             and duly perfected liens.
Ocwen           Loan    a.   At Closing, a commission of 6% of         1. 866      Bellevue
Servicing,       LLC         the gross proceeds for the sale of           Circle,       SE,
(“Ocwen”) as servicer        each property subject to the                 Washington, DC
for the Bank of New          agreement shall be paid to the               20032
York Mellon Trust            Trustee’s real estate consultants         2. 1925       Valley
Company; Bank of             (A&G Realty Partners, LLC and                Ter.,         SE,
America      National        Long and Foster Real Estate, Inc.) per       Washington, DC
Association; and U.S.        the terms of the Trustee’s agreement         20032
National Bank                with such consultants.                    3. 217 20th St., NE,
                        b.   At Closing and after the deduction of        Washington, DC
                             the above-described amount (as well          20002
                             as any real estate or related taxes due   4. 1516     Trinidad
                             and owing and required to be paid            Ave.,         NE,
                             from gross proceeds as part of the           Washington, DC
                             sale pursuant to the Purchase                20002
                             Agreement or applicable non-              5. 1732 Taylor St.,
                             bankruptcy law), the Trustee shall           NW,
                             pay the debt amount due and owing            Washington, DC
                             to Ocwen in connection with its first        20011
                             priority and duly perfected liens         6. 3402 Shepherd
                             without prejudice to the Trustee’s           St.,       Mount
                             right to seek payment pursuant to            Rainier,      MD
                             Section 506(c) or other section of the       20712     (Prince
                             Bankruptcy Code, charging Ocwen’s            George's County)
                             collateral.                               7. 164 Uhland Terr,
                        c.   The Trustee reserves all rights with         NE, Washington,
                             respect to his ability to seek and           DC 20002
                             recover compensation directly from        8. 4021 Marlboro
                             Ocwen pursuant to Section 506(c) or          Pl.,         NW,
                             other section of the Bankruptcy Code.        Washington, DC
                                                                          20011

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                                                                                      9. 3430 23rd St.,
                                                                                         SE, Washington,
                                                                                         DC 20020
EagleBank                       a. At Closing, a commission of 6% of                  1. 1825 Kilbourne
                                   the gross proceeds for the sale of the                Pl.,       NW,
                                   property subject to the agreement                     Washington, DC
                                   shall be paid to the Trustee’s real                   20010
                                   estate consultants (A&G Realty
                                   Partners, LLC and Long and Foster
                                   Real Estate, Inc.) per the terms of the
                                   Trustee’s agreement with such
                                   consultants. 2
                                d. At Closing, a 10% share of the gross
                                   proceeds of the Debtor’s one-half
                                   interest in the property subject to the
                                   agreement shall be paid to the Trustee
                                   as a carve out for the benefit of the
                                   bankruptcy estate, which shall be
                                   applied to and paid from EagleBank’s
                                   debt amount.
                                b. .
                                c. At Closing and after the deduction of
                                   the above-described amounts (as well
                                   as amounts to be paid any real estate
                                   or related taxes due and owing and
                                   required to be paid from gross
                                   proceeds as part of the sale pursuant
                                   to the Purchase Agreement or
                                   applicable non-bankruptcy law), the
                                   Trustee shall pay the debt amount due
                                   and owing to EagleBank in
                                   connection with its first priority and
                                   duly perfected lien. Such amount
                                   shall be paid from the proceeds of the
                                   sale of the Debtor’s one-half interest.

Wells Fargo Bank,               a. At Closing, a commission of 6% of                  1. 1118 50th St.,
N.A.                               the gross proceeds for the sale of the                NE, Washington,
                                   property subject to the agreement                     DC 20019
                                   shall be paid to the Trustee’s real
                                   estate consultants (A&G Realty
                                   Partners, LLC and Long and Foster
                                   Real Estate, Inc.) per the terms of the

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         The one-half interest co-owner of the Kilbourne Property, William McFadden Jr. has also agreed to such
payment pursuant to the Consent Response filed with the Bankruptcy Court on March 25, 2014 [Dkt. No. 470], and
the proceeds allocable to such one-half interest may be distributed to William McFadden Jr. at Closing.

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            Trustee’s agreement with such
            consultants.
         b. At Closing, $2,500 of the gross
            proceeds shall be paid to the Trustee
            as a carve out for the benefit of the
            bankruptcy estate.
         c. At Closing and after the deduction of
            the above-described amounts (as well
            as amounts to be paid any real estate
            or related taxes due and owing and
            required to be paid from gross
            proceeds as part of the sale pursuant
            to the Purchase Agreement or
            applicable non-bankruptcy law), the
            Trustee shall pay all net proceeds to
            Wells Fargo in connection with its
            first priority and duly perfected lien.




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